Case 2'03-cv-02845-BBD-dkv Document 52 Filed 04/26/05 Page 1 of 5 Page|D 65

UNITED STATES DISTRICT COURT ` z zw
WESTERN DISTRICT OF TENNESSEE ,_._L l '

CAROL TERESA HART, by and
Through her parent and next friend,
BEVERLY CAROL HART,

Plaintiff,

VS. Case NO. 03-2845 MIV

SHELBY COUNTY SCHOOL SYSTEM,
A body corporate and politic, and

DR. BOBBY WEBB, Superintendent of
Schools, in his official capacity,

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Defendants.

 

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_PETITION FOR R_EIMBURSEMENT OF EXPENSES AS PROV[DEl) 0
BY THE CIVIL PRO BONO PLAN FOR PRO SE INDIGENT PARTIES

COMES NOW Armstrong A]len, PLLC, formerly pro bono counsel for Carol
Teresa Hart, by and through her parent and next friend, Beverly Carol Hart, pursuant to
the Civil Pro Bono Plan for Pro Se Indigent Parties Guidelines for reimbursement of
expenses (Section III.C - Allowable Expenses and Costs) and moves this Court for
approval of reimbursement of expenses attached hereto as Exhib1t “A”.

The expenses charged this client Were reasonable, in the best interest of the client,

and should be approved for payment
WHEREFORE, PREMISES CONS]DERED, Armstrong Allen, PLLC prays for

an award of its expenses in the amount Of $348.95.

MOT|ON GRANTED

    

- 'ERNICE BOUIE DONALD

This document entered on the docket sheet ln compll lance u 8 DiSTR\cTJuBGE

Wlm ama 53 and/orre(a) FacP on § g 1 05 1

Case 2:03-cv-O2845-BBD-dkv Document 52 Filed 04/26/05 Page 2 of 5 Page|D 66

Respectfully submitted:

ARMSTRONG ALLEN, PLLC
Brinkley Plaza
80 Monroe Avenue, Suite 700

Memphis, Te es , _ 03
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neary C. Sheiron, 111 (#8207)

    
      
  

CERTIFICATE OF SERVICE

l hereby certify a true and exact copy of the foregoing has been Served upon
Timothy W. Srnith, Esq., Attorney for Defendants, 2670 Union Extd., Suite 1200
Memphis, TN 38112 via United States Mail, postage prepaid, t_' ' " day n f A_ril, 2005.

  

 

Case 2:03-cv-O2

 

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ARMSTR©NG ALLEN

CAROL TERESA HART
C/O Ms. BEVERLY HART
1614 SORGHUM MILL
CORDOVA, TN 38016

PLLC

APRIL 15, 2005

INVOICE # 63416

HENRY C. SHELTON III
OUR MATTER # H1073-0057357
HART VS. SHELBY COUNTY SCHOOLS
FOR PROFESSIONAL SERVICES RENDERED THROUGH MARCH 8, 2005
PAYMENTS RECEIVED THROUGH APRIL 15, 2005
INVOICE SUMMARY
REIMBURSABLE COSTS:
CLERK RUNS 10.00
COPY CHARGES 40.20
FAX CHARGES 2.50
llBIE~lE£AL RESEARCH 295 70
TOTAL REIMBURSABLE COSTS $ 348.95
CURRENT BILLING FOR THIS MATTER 5 348.95
TOTAL DUE FOR THIS MATTER $ 348.95
REIMBURSABLE COSTS

02-22~04 COPY CHARGES 4 0.80
07-23-04 COPY CHARGES 59 11.80
08-03~04 CLERK RUNS; 07/30/04

HCS V GRIFFIN,

FEDERAL DELIVER 1 5.00

 

80 Morn‘oe Ave., Suite 700 | Mernpliis, TN 38103 l Office 901»523-5211 l Fax 901-524»4936 l FEI XX-XXXXXXX

 

MEMPHIS,TENNESSEE | ]ACKSON,MISS{SSIPH |

LITTLE ROCK, ARKANSAS l

LMCKSON,TENNESSEE

 

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ARMSTRONG ALLEN

CAROL TERESA HART APRIL 15, 2005
INVOICE #63416

OUR MATTER #: H1073-0057357 PAGE 2
08-03~04 CLERK RUNS; 07/30/04

HCS FEDERAL FILE

AND RETURN 1 5.00
08-10-04 FAX CHARGES; 3275875 2 2.50
03-11-04 LEXIS LEGAL RESEARCH;

08/04/04 HENRY SHELTON 90.00
08-16-04 COPY CHARGES 17 3.40
08”25“04 LEXIS LEGAL RESEARCH;

08/09/04 HENRY SHELTON 206.25
09~01-04 COPY CHARGES 15 3.00
10-20-04 COPY CHARGES 106 21.20

TOTAL REIMBURSABLE COSTS $ 348.95

80 Monroe Ave., Suice 700 l Memphls, TN 38103 | Office 901-523-8211 | Fax 901-5244936 l FE162»0520087

 

MEMPHIS,TENNESSEE | ]ACKSON,MISSISSIPPI | l.l`l'Tl.E ROCK,ARKANSAS | }ACKSON,TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:03-CV-02845 vvas distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

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Timothy W. Smith

LAW OFFICE OF TIMOTHY W. Sl\/HTH
2670 Union EXtd.

Ste. 1200

l\/lemphis7 TN 38112

Honorable Bernice Donald
US DISTRICT COURT

